Case 1:10-cr-00317-REB Document 735-5 Filed 01/17/14 USDC Colorado Page 1 of 9

NOTICE OF AND RESCISSION OF MOTION FOR LEAVE TO
FILE AN AMICUS CURIAE BRIEF FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105

Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 334 Filed 10/19/11 USDC Colorado Page 1 of 8
1, Page 2 of 8 Tony Davis 14 day of OCTOBER 2011 Tony Davis 2, Page 3 of 8 APP A, Page 4
of 8 APP B, Page 5 of 8 APP C, Page 6 of 8 APP D, Page 7 of 8 APP E, Page 8 of 8"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind the
original "Case 1:10-cr-00317-REB Document 334 Filed 10/19/11 USDC Colorado Page 1 of 8 1,
Page 2 of 8 Tony Davis 14 day of OCTOBER 2011 Tony Davis 2, Page 3 of 8 APP A, Page 4 of 8
APP B, Page 5 of 8 APP C, Page 6 of 8 APP D, Page 7 of 8 APP E, Page 8 of 8" including
every copy, for cause. I make a mistake creating, presenting and filing the MOTION FOR
LEAVE TO FILE AN AMICUS CURIAE BRIEF. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed.

Anyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of you mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."

"Give no sleep to your eyes, nor slumber to your eyelids.” -"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

UNITED STATES DISTRICT COURT :
DENVER. COLORADO Sincerely

JAN 17 2014 Verba jLeble keg Jen EP

Richard Kellogg Armstyong —
: + c/o 20413-298
JEFFREY P. COLWELL Federal Correctional
Institution - Lompoc
me 3600 Guard Road
Lompoc, California

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Footnotes: ‘Proverbs 6:1, *Proverbs 6:2, 3Proverbs 6:3, “Proverbs 6:4, "Proverbs 6:5
Attachment: "supra"

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
cc: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-5 Filed 01/17/14 USDC Colorado Page 2 of 9

Case 1:10-cr-00317-REB Document 334 Filed 10/19/11 USDC Colorado Page 1 of 8

 

UNITED STATES DISTRICT COURT FILER
FOR THE DISTRICT OF COLORADO S$. 01572127 CouRT
DENVER DIVISION DISTRICT SF COLSe EDA
ITED STATES OF AMERICA § cUI OCT 19 PMI2:55
ff : GREGORY Cc LLARGHAM
v § No. 1:10-cr-00317REB-2
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CHARD KELLOGG ARMSTRONG BY DEP, CLK
Defendant
CUS CURIAE BRIEF
egal Accountability Workgroup, a firm dedicatedothe preservation of Consti
Rights, respectfully moves this Honotals Court for leave to appear and fi \

Amicus Curiae in the above-entitled cause oh the consent of the Defendant VA

i the consent of the Plaintiff who has bee y served with a copy of the motionWhd
opy of the proposed form of brief. The interbg oF Legal Accountability Workgroups as
follows:

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since secutor’s wife works for the Internal

 

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(\ abhorrent that the both the court nd the Prosecutor had full knowledge of the
nile v. United States, S.Ct. 6/16/11, and were bound to follow that ruling regarding
Case 1:10-cr-00317-REB Document 735-5 Filed 01/17/14 USDC Colorado Page 3 of 9

Case 1:10-cr-00317-REB Document 334 Filed 10/19/11 USDC Colorado Page 2 of 8

    
 
 
 
   

engfore, it is in the best interests of the

other Katies who have persons imprisoned and

heard Bs the Constitution be upheld.

   

 
       
   

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Legal‘ ity Workgroup
3300 Bee Ci¥e Road, Suite 650-1185
Austin, 78746

(512) 354-

(512) 4 (fax)

Email: untabili

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Case 1:10-cr-00317-REB Document 735-5 Filed 01/17/14 USDC Colorado Page 4 of 9

Case 1:10-cr-00317-REB Document 334 Filed 10/19/11 USDC Colorado Page 3 of 8

Jer TRANGAHL o) (7
Clerk Jk

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HS. House of Representatibes
Washington, BO 20515-6601
Ne 28, 2000
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Gres R. Degan ((
Gr 116012076
uilding Beale B 313

1 John Denie Road , \
ohis, TN 38184

ar Mir. Degan: . \

Thank you for your letter requestin

H-154 THe Cap,

    
   
 
  

information on Title 18.
In respense to your inquiry, Congr

1948, however, Title 18 was not voted on ANghis ¥
es in the U.S. Code and this wording w

& hived at the National Archives and XN

[hoce that I have been of wi nce to you. For future reference, mo
epqpilory libraries possess this type ation. For the depository library clsest to yo

MEe consult the Government Printing 0 eb site: www.eDo.gov/libraries.
With bes: wishes, I am \)

“NY \ incerely, \

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in session on June . 3,4, 712 and 9,

   
 
  

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Administration and are not avai

  

 

       

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Case 1:10-cr-00317-REB Document 735-5 Filed 01/17/14 USDC Colorado Page 5 of 9

Case 1:10-cr-00317-REB Document 334 Filed 10/19/11 USDC Colorado Page 4 of 8

 

ES CAGEALA/

HS. Mouse of Representatines
Washington, BC 20515-6601

September 11, 2006

Thank you for contacting the Office of the Clerk.

the Journal of tha House of any
May 12, 1947 vote on the H.R. 3190 bill, although pages 343-244 of the Joumal of the House of Represen-
tatives from the tat Session of the 80th Congress indicates that the bil was amended, purportedly passed,
and transmitted to the Senate for concurrence. The Senate took no action on the H.R. 3190 bill prior to the
December 19, 1947 sine die adja nt.

Lf. Y Bape S040 of Wd Co 0 6,
‘ 190
a prasant. ’

According to House Rules, whan lass than @ majority of a quorum votes to pass a bill, the journal fnust 9)

. the names of Members present but not voting. {found ao mcard af any names for the May 12, a fst shaw
bt \ hope this information has answered your questions.

  

 

   

  

Sincarely Yours,

Karen L. Haas
Clark. U.S. House of Representatives

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Case 1:10-cr-00317-REB Document 735-5 Filed 01/17/14 USDC Colorado Page 6 of 9

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Bnited States Senate

OFFICE OF THE SECRETAR~

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March 9, 2009

ik. Wayne E. Matthews

* 713 Bonnie Meadow Lane
Ft, Washington, MD 20744 i

» . .

Dear Mr, Matthews: . : .

   

CY.

   
    

Thank you for your recent letter aay confirmetion on the status of H.R.
3190 from the 80" Congress.
\
T asked the Senate Historian’s offica to review the correspondence you enclosed,

nd they were able to verify that no ection
the December 19, 1947 sine dte adjo PAINCN
House Journal avd Congressianal Record 0

Y

was taken ‘sy the Senate on H.R. 3190 prior to
NI have enclosed relevant. pages from the
bur fefersnce.

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Case 1:10-cr-00317-REB Document 735-5 Filed 01/17/14 USDC Colorado Page 7 of 9

Case 1:10-cr-00317-REB Document 334 Filed 10/19/11 USDC Colorado Page 6 of 8

, LoRnaine C. MILLER H-154 THe Carito.

* CLERK

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“Deru an H_S. House of Representatibes
ARIA A. PE > 4 —F x
epury Cupre Washington, BEC 20513—6601

Oontacting the Office of the Clerk. Ss

    
 

   

Our office onducted research of the House Journal a e Congressional Record in regar

researching these official procedings
the US Ho epresentatives we have been unabieto find the\names of the 44 Members w
oreo voice vote. We have included page the House Journal and the Congres

Record tiggt shows the proceedings of that day as fara

passed on 12, 1947 it was debated, engrossed a @ motion was laid on the table. HR 3190 was

 
    
  
  

orum is concerned. The text of HRWB190

passed by t se and Senate on June 18, 1948 and\pecame Public Law 80-772 on June 25, 150.
House d on December 19, 1947 for daily busiess the start of a new session of Congress
January 6, We hope the provided information aXdocumentation will aid in your research.

Legistat! rce Center

Office of the k

US House af Representatives

 
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the House
May 12,
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presence of 21

“Haley G. Lappin" <hariey Jappin@uadc).

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